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                           UNITED STA TES DISTRICT COURT
                           SOUTHERN D ISTRICT OF FLORIDA
                       CASE NO . 11-20427-WILLIAMS/TURNOFF

        DISN EY ENTERPRISES,
        INC ., TWENTIETH CENTURY
        FOX FILM CORPORATION ,
        UN IVERSAL C ITY STUD IO S
        PRODUCTIONS LLLP,
        COLUMBIA PICTURES
        INDUSTRTES, INC ., and
        WARNER BROS .
        ENTERTA INMENT , INC .,
    8
                     Plain tiff,

         HOTFILE CORP ., ANTON
         TITOV , and DOES 1-10,

                     Defendants .

        HOTFILE CORP .,
                     Counterclaimant ,
        V .
        WARNER BROS ENTERTA INMENT
        IN C .,
                  Counterdefendant .

                                               VOLUME
                       H I                        N F         D        N   I A
                  (Pursuant to protective order, the following
              transcript has been designated highly confidential)
                       30 (b)(6) DEPOSITION OF ANTON TITOV
                                   Radisson Blu Hotel
                                    Sofia, Bulgaria
                                Monday , December    2011
                                  Job Number : 41174

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                                                                             Page
                            A P P E A R A N C E S
         ATTORNEY FOR THE PLA INT IFFS :
                     JENNER & BLOCK
                     BY :   STEVEN B . FABRIZIO, ESQ .
    4                1099 New York A venu e, NW
                     Wa shington , DC          20001

    6
    7
    8

         ATTORNEY FOR THE DE FEN DAN TS HOT FILE CO RP .,
         AN D A NTON T ITOV :
                     FA RELLA , BRAUN & MARTEL
   10                BY : RODE RICK M . THOM PSON , ESQ .
                     2 35 M ontgome ry Street
   11                San Fran cisco , California                     94104



                     BOSTON LAW GROUP
   14                VA LEN TIN GURV ITS
                     82 5 Beacon Street
                     Newton C enter , MA 02 459




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                                                                          Page 3
         Al so p resent :
         Court rep orter :
                     Fiona Farson
                     T SG Rep ortin g


         Videograph er :
                     Sim on Ru tson
                     T SG Rep ortin g


         Interp ret er :
                     A ssist . Pro f . Boris Naim ush in , Ph .D .




   14




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                                                                           Page 156
             Hotfile 's counterclaim against Warner is?

        MR. THOMPSON : Object, that                 calls for a legal conclusion.
                 You can answe r .

    4   A.   The counterclaim against Warner reflects the fact that

             we 've given Warner a powerful tool to be able              take

             down and block content on the Hotfile website, and that

             this tool, in our opinion, was misused to take down
    8        files for which Warner doesn 't hold the copyright .

             That 's the substance, without the legal part .

        B Y MR . FABR IZIO :

   11   Q . And do you believe Warner took down material that
   12        didn 't own on purpose?

        MR. THOMPSON : Objection, vague.
        A.     don 't know about the motives of Warner doing
        B Y MR . FABR IZIO :

   16        Would you believe Warner saw a file, recognized that it

             wasn 't one of their properties, but sent a notice

             through the special rights holder 's account, knowing

             that     wasn 't their property?

        MR. THOMPSON: Objection. Hypothetical, calls for
             speculation .

        A.     don 't know what was Warner's goal or policy, so

               don 't know .
   24   BY MR . FA BR IZIO :

        Q . Do you understand that in part, Warner uses an automated


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                                                                                         Page 157
             process          send DMCA notices?

                am not ruling out this possibility, but                          don 't have

             any proof of this, I guess .
    4   Q . Okay . So do you have any knowledge of the process

             Warner uses          identify content               believes           be

             infringing and to send notices about that content

             Hotfile?

        A.   I know          I don rt know the actual process, and my

             lawyers may know more, because some of the information

             is classified in a way that                  don 't have access to .

        Q . Fair enough . Hotfile, in its operations, uses processes
             that are fully automated , do they not?

        MR. THOMPSON: Objection. Vague and overbroad.
   14        Ye s ,     does.

        BY M R . FAB RIZ IO :

   16   Q . Okay .      Is      Hotfile 's position that -- that an

             automated system of sending notices is never acceptable?

        MR. THOMPSON : Objection. Overbroad and vague. And calls
             for      legal conclusion,             believe,             well.
             I don 't know .

        BY M R . FABR IZ IO :

             Okay .   As someone who helps operate a very large-scale

             system , do you agree that any system will yield some

             erro rs?

        MR. THOMPSON : Objection               Overbroad and vague

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                                                                                  Page 158
        A.   I don 't want          say that, and probably somebody

             operating an online banking account won 't agree to you,

             but mistakes happen .

        B Y MR . FABR IZIO :

        Q . But mistakes do happen?
    6        Yes, they do .

        Q . And on large-scale system s, even                      human beings looked
             at everything, do you agree that mistakes would still
             happen?

        MR. THOMPSON : Objection. Overbroad, unintelligible.
   11   A.   Norm ally a computer algorithm is doing what                     s

   12        designed to do, and part of the design might be

             a m istake, but my understanding is that                     will operate

             the way       operates, and -- and that 's
   15   B Y M R . FABR IZIO :

   16   Q . Well, I rm moving away from computer algorithms ; I'm

             talking about having human beings review everything .                   So
             if Warner had a system where human beings reviewed every

             single notice that              was sending, would you agree that

             there would still be likely                    be errors?

        MR. THOMPSON: Objection, vague.
        A.   Yeah, that is vague .

        BY MR . FA BR IZIO :

        Q . And what sort of error rate would Hotfile find
             acceptable in a company sending notices to Hotfile on


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                                                                                          Page 159
               a large scale?

        MR. THOMPSON: Objection, calls for a legal conclusion.
        A.     I don 't know .    Hotfile never -- never                     were never
    4          thinking about that .

        BY MR . FABR IZIO :

    6   Q . Is        true, is         not, that Hotfile began looking for
               a basis for a counterclaim almost immediately upon being

               sued by plaintiffs?

        MR. THOMPSON: Objection, assumes facts.
               Yes,   think
   11   BY MR . FABR IZIO :

   12   Q . And prior to the filing of the complaint in this action,
               Hotfile never investigated any Warner takedown notices
               before that?
   15   MR .   THOMPSON: Objection, overbroad and vague.
        A.     I 'm not aware of such an investigation .

        MR . FABRIZIO :         don 't believe this needs to be marked,

               since it 's a pleading in the case, but I just want to
               make sure the witness has                  front           him the second

               amended answer and counterclaim .

                   Do you believe             needs          be marked?        1'm happy to

               do whatever you like .

        MR . THOMPSON :    If you bre representing that it ls filed,
   24          that ls fine .

        MR . FABRIZIO :    Great.


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 '




                                                                            Page 162
      1   BY M R    FA B RI ZIO :                                                      '

          Q . I realize --                                                             '
          MR . THOM PSON :     Excuse m e for interrupting . Go ahead .                1
                                                                                       j
                                                                                       i
                                                                                       .
                                                                                       j
     4    MR .   FABRIZIO: Thatls okay.                                                p
                                                                                       '
     5    Q. Mr. Titov, you personally participated in the process of
      6          Hotfile looking for m istakes among the takedown notices
                                                                                       tp
                                                                                       k
                 Warner sent, correct?
                                                                                       è

     8    A.     That is correct .
     9    Q . okay . And do you understand the files listed on
     10          exhib its A through D of the counterclaim to reflect
     11          files that Hotfile located that they believed to have                 t
                                                                                       )
                                                                                       1
                                                                                       '



     12          been sent in error?                                                   )
                                                                                       '
                                                                                       #
     13   A.     Hotfile itself identified a small number of filesr and
                                                                                       )
     14          further research was performed by counsels and experts.

     15          I -- I don lt really know .

     16   Q . Okay . And a11 of the files that are identified on
     17          exhibits A through D, is it fair to say that the first                :

     18          time Hotfile formed the belief that these files were

     19          sent in error was after the complaint in this case had
     20          been filed?                                                           )
                                                                                       p
                                                                                       .


          A.     Yes,    believe so .                                                  )
                                                                                       '
                                                                                       i
                                                                                       .
                                                                                       '
     22   Q.     And is it also fair to say that within Hotfile r the                  j
                                                                                       j
                                                                                       ;


     23          process of identifying potential mistaken takedowns sent              l
                                                                                       i
                                                                                       t
                                                                                       j
                                                                                       ,


     24          by Warner was a high priority?

          MR. THOMPSON: Oblection, vague.                                              1
                                                                                       )
                                                                                       i
                                                                                       ,

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                                                                              Page 163
       A.     don 't know .     It might be, for a certain period of

            time .

       MR . FABRIZIO :    I 'm going to ask the court reporter to mark

   4        as Titov exhibit 26 a one-page document bearing Bates

            number HF00032714. And this is a document that consists

               three pages :      A Bulgarian original, an English
            translation, and the certification of the translator.

   8            (Titov exhibit 26 marked for identification .)
       MR . FABRIZIO : This is off the record .

                           (Discussion off the record.)
       MR. THOMPSON: Mr. Fabrizior just from looking at this, it
  12        doesn 't appear        me         match .

       MR . FABRIZIO :    May     see?      That may explain something else
            I 'm looking at .

                 It 's not .    But that does explain the other thing
  16          was looking at .       1 '11 take this exhibit back, so we 're

            going to adjust this exhibit; my apologies.
                A nd now I w ill imp ress you al1 with m y m aste ry o f

            Bulgarian .   A11 right .         So we have withdrawn exhibit --

            the exhibit 26 that had been previously marked , and I'm
            going     re-mark         exhibit             -- is that acceptable?

       MR . THOMPSON :    Sure.

       MR . FABRIZIO :    A one-page document                 darn, hold on

              second .

  25            A one-page document bearing Bates number HF02303232 .


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                                                                                    Page l64
                (Exhibit Titov 26 re-marked for identification.)
       BY MR . FABRIZIO :

       Q . Mr . Titov,          take        that you have no issues reading
              this document in Bulgarian?

              No,    don rt .

   6   MR. THOMPSON :      His counsel does .

                    Mr. Fabrizio, 1et me also just state while he's
              reading that, we have become aware in the last week or

              two      some inadvertent produced documents that were
  10          written in Bulgarian that contained work product

  11          information .      And I 1d ask -- have asked for their

              return     I don 't know            this is among them or not, not

              being able to read the Bulgarian .

       MR . FABRIZTO :     Well, then, we can deal with that afterwards .
  15   MR .   THOMPSON: And I'd just like to -- 1'11 allow this to
  16          continue, but I want to reserve a potential objection to
              the extent this has any work product.
       MR . FABRIZIO :     Okay .      Fair enough .             You preserve the

              objection. Obviously, until we see what                        is, I can 't
              say whether we agree or not.

       MR . THOMPSON :     But you agree there 's no waiver by

              letting me --

       MR . FABRIZIO : No, not by letting him answer the following
  24          question .

       B Y MR . FA BR TZIO :


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                                                                                     Page 165
        Q . Mr . Titov , is exhibit 26 a true and correct copy of an
              email from March           2011?

       A.        don 't have any reasons to believe that it 's not .

        Q . Okay. And is the substance of the email Hotfile 's
              investigation          files submitted for takedown by Warner?
   6   MR .   THOMPSON : Objection, vague.
              Yes,      is .

        BY MR . FABR IZIO :

       Q . And in the second-to-last line, the one that ends                          an
              exclamation point,            the English translation of that

              ''This is a priority''?
  12   A.     Y es ,    say s so .

              Okay .   So at least at this point in tim e, Hotfile 's

              investigation of files taken down by Warner was

                 priority?

       MR. THOMPSON : Objection, vague.
       A.     It seems to be priority for at least part                    the Hotfile
              personnel, yes.

       BY MR . FABR IZIO :

                  says ''andrew@Hotfile.'' Who                 that?
  21   A.     That is Andre -- Andre Ianakov .

              And Hotfile Corp w        is that a group email?

       A.     Without the email address, I can 't say .                 But probably

              it 's something that Stanislav reads, since                    turns

              Stanislav .


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                                                                                         Page 167
       A.    No, they did not .

             Hotfile had identified what                    believed          have been

             mistakes in the notices by Warner throughout

             February , March, April and even May of 20017                         that not

             correct ?

   6   MR. THOMPSON : I'm going to object to the extent that it
             calls for work product information which commenced after

             the date of early March 2011 .

                 To the extent you can answer without revealing work
             product information, you can do

       A.      don lt think I can answer .

            MR . FAB RIZIO :

        Q . Okay . Well, you identified what you believed to have
             been mistakes made by Warner prior                           early March 2001;
                that not correct ?

  16   A.    Yeah ,      believe so .

        Q . Okay . Did you ever bring those mistakes to the
             attention of Warner prior to filing your counterclaim ?

             Not directly,
             Indirectly?

             It is my belief that at some point our counsel

             communicated with Warner, who knew .

       MR . FABRIZIO :      Let me ask the court reporter                      mark as

  24         Titov exhibit           a document bearing the Bates number

             HF02866338 through 369.


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                                                                                  Page 168
   1            (Titov exhibit 27 marked for identification.)
   2   BY MR . FA BRI ZIO :

       Q.    'm not going to ask you about each individual entry .
   4        Could      just ask you if this is a true and correct copy
            of an email and attachment that you received on or

   6        about March 10, 20112

       A.     don 't reason to believe -- I don 't have reasons to

            believe that it 's not .

       Q . And this is part of your early investigation of what you
            perceived         be mistakes made by Warner               sending

            takedown notices?

       A.   This is some list that might contain errors, yes .

       Q . Okay.      Just turn to the first page, which is the first

            page of the exhibit. This was -- just look at                        look
            at entry number 36, just                 take one, and if you look
            under the column F, under the heading ''Copyright :''

            says :
                   ''Copyright not Warner .''

                 Do you see that?
  20   A.   Yes,      do .

       Q . Okay . And does that reflect that the author                     this
            exhibit concluded that that file, while not containing

            a property likely owned by Warner, nonetheless contained

            copyrighted content?

       MR. THOMPSON : Objection. Calls for speculation, misstates

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                                                                                     Page 169
               the document .
       A.      I 'm not aware of the exact method of research the author

               of the document used, and from what I see, my
   4           interpretation would be that that                     the list -- very

               early draft         list, just             get examples.
   6    BY MR . FABRIZIO :

        Q . But your understanding when you received this document
               was that the notation ''Copyright not Warner'' meant that

               the file was copyrighted, but not owned by Warner?

        MR. THOMPSON: Objection. Calls for a legal conclusion, and
               speculation .
  12    A.     Yeah, the way         read         is that the author           the
  13           document               don 't know ,              performing some kinds of

  14           analysis, concluded that probably it 's copyright, but

               not by Warner .

        BY M R . FAB RIZIO :

        Q . And you were one                the people that supervised this
               investigation , were you not?
  19    MR .   THOMPSON: Objection, vague.
               Say that     participated in the investigation .

        B Y M R . FA BR IZIO :

        Q . Okay . The ''From :'' says ''hotfile .mailbox@gmail .com .'' Do
               you see that?

        A.     Y es .

        Q . Who uses that email address?


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                                                                                     Page l79
       MR . FABRIZIO :          was hoping weld go a little longer, since

             we started a little later.
   3   MR . THOMPSON :      Through no fault of ours .

   4   MR . FABRIZIO :      Granted .        We haven lt established that it 's

             the fault of ours, but                 don 't think there's any reason

   6         to fight about that.                 was hoping just to go a little
             longer .

       MR . THOMPSON :      Mr . Titov, 1et us know if you 're tiring, but
   9         we can -- we can go a little longer .

       B Y M R . FAB RI ZIO :

  11   Q . Earlier you said that explaining the reasons for the
  12         falloff in traffic was complicated .                      Do you recall that?

       A.    Yes, I do.

  14   Q . Okay . Why do you believe it ls complicated?
       A.    Because we have              consider many factors

             Su ch a s?

       A.    I 'd say general awareness of users about this lawsuit .

        Q . Anything else?
  19    A.   And general awareness of users about the fact that their
  20         data         going        be produced                somebody.

             Anything else?
  22    A.   Of courser to a certain degree, the wrongful takedowns

             by Warner and other companies and its impact when we

  24         implemented the tightened repeat infringement policy

  25         with the strikes .


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                                                                                   Page 180
       Q . You said ''implemented the''                   what was the word you
   2           used?    ''Tightened ''?
   3   A.      Ye s .

   4   Q . ''Tightened (routinel infringement policy.''
                    Anything else?

   6   A.      There might be others, but Ilm not able to think of

               anything more .
   8           Do you think the fact that you -- that Hotfile began

   9           terminating users in large quantities played

  10           a significant role?

        MR. THOMPSON: Objection, vague.
  12    A.     Yeah, I think it did play                role .
        B Y M R . FABR IZIO :

  14    Q . Would you agree that the Hotfile terminations, post
               complaint, played a very significant role?
  16    MR .   THOMPSON: Objection. Vague, asked and answered.
        A.     Depends on the definition of ''significant,'' but
               definitely, to a certain extent, fair to say that .

        BY MR . FAB RIZIO :

        Q.              fair     say that prior                 Hotfile 's beginning to
               terminate users in large quantities, Hotfile 's user

  22           traffic and revenues were going up , generally speaking?

        MR. THOMPSON: Objection. Overbroad, vague as to time.
        A . A re you talking about some specific period of time, like

               between filing the complaint and terminations, or in


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                                                                                   Page 181
             general?

       BY MR . FA BR IZIO :

       Q . No , I mean -- 1et me try                  a different way . And it
             almost doesn 't make a difference when it began ; why

             don't we just pick a point                   time.
   6             Is it not the case that throughout 2010 and up                         up

             through the filing of the complaint, as a general
             matter, Hotfile 's revenues and its user traffic were

   9         increasing?

  10    MR. THOMPSON: Objection, vague as to ''general matter.''
  11    A.     think it 's fair to say so .
        BY M R . FABR IZIO :

        Q . And is       not also fair to say that upon Hotfile
  14         beginning         terminate users                 masse, Hotfile 's user

  15         traffic and revenues began                   fall dramatically?

        MR. THOMPSON: Objection. Assumes facts and misstates prior
             testimony .
        A.         certain extent it began                     there was such a result .

  19    BY MR . FABRIZIO :

  20    Q . okay . So do you believe that the falloff                       user
  21         traffic and revenues was caused almost exclusively by

             Hotfile deciding to terminate users en masse?

        MR. THOMPSON: Objection. Assumes facts, misstates
  24         testimony, and also calls for speculation .

        A.   I don 't know .


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                                                                               Page l82
        BY MR . FAB RI ZIO :

   2    Q . You identified awareness of                    of users of this lawsuit .
   3           Do you believe the mere filing of this lawsuit caused

   4           Hotfile to lose users?

   5    A.     It 's not impossible .

   6    Q . But I1m asking what you believe .
        MR. THOMPSON: Objection. Asked and answered, calls for
   8           speculation .
   9    A.       don 't want to talk about quantities, but at least to

               some degree, it can happen .

        BY MR . FA BR IZIO :

        Q . What           about the filing of this lawsuit that in your
               mind would cause users to leave Hotfile?

        A.     Some invasion in their privacy that they can expect.

        Q . What invasion of their privacy?
        A.     As a result of the discovery process that is ongoing .

        Q . Anything else?
        A.     Nothing that I can think of now .

        Q . Okay .    Prior        the filing of this complaint, did
               Hotfile respond to each and every DMCA notice

               received by blocking access to the files identified?

  22    MR .   THOMPSON: Objection, overbroad.
        A.     It was general policy of Hotfile to do its best to be

               able to respond          each DMCA takedown notice and to

               block access to it.


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                                                                                Page 184
              to ''m istakenly'' as vague and ambiguous .
   2                 You can an sw er .

       A.     To my belief, Hotfile doesn 't have information about
   4          each and every file and part of information about each

   5          and every file is classified to a level of
   6          confidentiality that won 't allow Hotfile access to it .

                                (Reporter clarification.)
   8                 Confidentiality that won 't allow Hotfile access to

              it .

        BY MR . FABRIZIO :

  11   Q . Well, I'm asking about your contention, not information
              that 's confidential . And I don 't know how this would
  13          qualify anyway, but is                 Hotfile 's belief that the

              files on which           is suing Warner were mistakenly taken
              down by Warner?
  16   MR .   THOMPSON: Objection, vague and ambiguous.
       A . To the extent we believe everybody who worked on
  18          produced -- producing this list, it is, yes, Hotfile 's

  19          belief .

       BY MR . FABRIZIO :

       Q . Did you assign the users that uploaded those files on
              exhibits A through D a strike pursuant                    your post

              complaint repeat infringer policy?
  24   MR .   THOMPSON: Objection. Vague and overbroad.
       A.     I don 't know about every and each file, but                   is my


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            belief that there were strikes assigned with --

            connected to these deletions .

   3   BY MR . FA BR IZIO :

       Q.   So my question is, why did you assign a strike to the
            users who uploaded those files if you believed that

   6        Warner 's notices were in error?

       MR. THOMPSON : Objection, overbroad.
       A.   The strike was probably assigned quite earlier in time

   9        quite earlier in time than Hotfile became -- Hotfile

            started to believe that these files are mistakenly

            removed .

  12   BY MR . FABRIZTO :

       Q . When did you start assigning strikes?                       It was only after
  14        the complaint was filed, correct?
  15   A.   cor rect .

  16    Q . Okay . And shortly after the complaint was filed, you
            began investigating filing a claim against Warner,

  18        correct ?

  19    MR. THOMPSON: Objection. Vague, asked and answered.
  20        co rrect .

        BY MR . FABR IZIO :

  22    Q . so I believe it 's the case that every single one                       the
  23        files on exhibits A through D are                     were taken down

  24        after the filing of this, or                      shouldn 't say that;

            either within a week of or -- the filing or after the


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                                                                                         Page 186
              filing     this complaint, but you didn 't start assigning
                 strikes until afterwards -- 1et me do this

              a different way .        I'm going to stop .               Strike that .

                  At some point before you were assigning strikes, you
              believe that Warner -- some of the Warner notices were

   6          m istaken, correct?

        MR. THOMPSON: Objection, misstates prior testimony.
       A.       don 't know about the exact timeline .

        BY MR . FAB RIZIO :

  10    Q. A11 right. Let me just ask it this way: Why didnlt you
  11          just go back and remove the strikes you had given the
  12          users that uploaded the files on exhibits A through D of

              the counterclaim, if you believed that those files were

              taken down in error?
  15   MR .   THOMPSON: Objection. Overbroad, and vague as to time
  16            don 't know .

       B Y M R . FABR IZIO :

       Q . There 's no technical reason why you couldn 't have
              removed    strike, is there?

       MR. THOMPSON : Same objections.
       A.     Yeah, there is no technical reason not to remove

              a strike, but          might be too late after months or

              generally , this investigation ,                  takes time .
  24   BY MR . FABRIZIO :

              Did you go back and remove any strikes?


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                                                                                      Page 187
       A.    I did not.

       Q . Did anyone in Hotfile, to your knowledge?
   3   A.    To m y know ledge , no .

       Q . Why not?
       A.      don 't know .

   6   MR . THOMPSON :    Are w e ready for --                 stop?

       MR . FA BRIZIO :   Unless you 're prepared to indulge me starting

   8         on a new line of questions, which I imagine not.

   9   MR . THOMPSON :    1 think w e should start in the morning .

  10   MR . FABR IZIO :   Okay .

       MR. THOMPSON : At the right location .

  12   MR . FABRIZIO :    I was going           say: Here,              this very room .

             It will be easier for you guys.

       MR . THOM PSON :   Next time please give us notice ; that 's a11

       MR . FABRIZIO :    Off the record .

       V IDEOGRA PHER :   Off the record .         6:08 .       This is the end of

             tape 4, volum e         and concludes today 's deposition of

             Anton Titov .

            (Whereupon the deposition adjourned until 9:00 a.m.
  20                      Tuesday, December 6, 2011.)


  22

  23




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                                                                      Page 189
                          H IG HLY CON FIDEN TIA L
                         CERT IFICATE O F COURT RE PO RTER



          Fiona Farson , with TSG Reporting , hereby certify that the
       testimony of the witness Anton Titov in the foregoing
       transcript, taken on Monday, December      2011 was reported
   5   by me in machine shorthand and was thereafter transcribed
       me; and that the foregoing transcript is a true and accurate
       verbatim record of the said testimony .

          further certify that   am not a relative, employee,
        counsel or financially involved with any of the parties to
        the within cause, nor am   an employee or relative of any
   9    counsel for the parties, nor am   in any way interested in
        the outcome of the within cause .
  10


  12


  14
        Signed :         .         .         ..

        Fiona Farson

        Dated :    Decem be r l5th r 2 011

  18
  19




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                                                                          Page 188
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                                          CERTIFICATE 0F DEPONENT


               I, ANTON TITOV, hereby certify that I have read the
           4   foregoing pages of my deposition of testimony taken in these
               proceedings on Monday, December 5, 2O11r and, with the
           5   exception of the cbanges listed on the next page and/or
               corrections , if any, find them to be a true and accurate
           6   transcription thereof .


        8



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               N ame :     ANTON    ITOV

               Date: ..
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                                              E R R A T A

                                    Depcsition of ANTON TITOV
        4
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            il0 :-1. Mr . Ianakov manages --> Mr . Stoyanov and Mr- . Vangelov manage
        6                                                                      Conform tt
                                                                                        o facts
             111:15       Secpay        Segpay                      Correct transcription

             119:5        Limewire --> Limelight                    Correct transcription

        9    115:13        Limewire --> Limelight                    Correct transcription
              126:10       I was there         I checked             Correct transcription
             228:17       And that is tradition the Blue Ant contract is to
                      And the Blue Ant contract is still                     Correct transcription
             128:18       enforce         in force                  Correct transcription
              138:8        Ignitov --> Ignatov                       Correct transcription

      15     138:10        I-G-N-I-T-O-V --> I-G-N-A-T-O-V                   Correct transcription
             65 :24 , 66 :3 , 66 :8 , 6 7 :4 , 68 :3 v Lucyan         Luchian       Correct trans .
            68 :l6 , 7():l3 , 7O :1.9 , 7 0 :21 ,
            7l :13 , 71 :18 t 72 :3 , 72 :7 , 72 :9, --         -     . --

      18              7S :1O, 75 :18, 76:4, 76:5, .
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                                                                      Page 191
   l                     UNITED STATES DISTRICT COURT
                         SOUTHERN DISTR ICT OF FLORIDA
   2                 CA SE NO . 11-20427-WILLIAMS/TURNOFF

       DISNEY ENTERPRISES ,
   4   INC ., TWENTIETH CENTURY
       FOX FILM CORPORATION ,
   5   UNIVERSAL CITY STUDIOS
       PRODUCTIONS LLLP,
   6   COLUMBIA PICTURES
       INDUSTRIES, INC ., and
   7   WARNER BROS.
       ENTERTAINMENT, INC .,
   8
   9               plaintiff,
  10   v .
  11    HOTFILE CORP ., ANTON
        TITOV , and DOES 1-10,
  12
  13               Defendants .
  14
        HOTFILE CORP .,
  15
                   Counterclaimant,
  16
        V.
  17
        WARNER BROS ENTERTA INMENT
  18    (Nc .,
                  Counterdefendant .
  19

  20                                   vo LuM E zz
                     H I G H L Y       C O N F I D E N T I A L
  21             (Pursuant to protective order, the following
             transcript has been designated highly confidential)
  22
                       30 (b)(6) DEPOSITION OF ANTON TITOV
  23                           Radisson B1u Hotel
                                Sofia, Bulgaria
  24                       Tuesday, December 6, 2011
                                 AT : 9:10 a .m .
  25                             Job No : 44175

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                                A P P E           R       N   E S
        A TTORNEY FOR THE PLA IN TIFFS :
                    JENNER & BLOCK
                    BY :   STEVEN B . FABRIZIO, ESQ .
                    10 99 N ew Yor k A venu e, NW
                    Washington , DC          20001




        A TTORNEY FOR THE DE FENDAN TS HOTFILE COR P .,
        AN D ANTON TITOV :
                    FA RELLA , BRA UN & MARTEL
                    BY :   RODERICK            THOMPSON, ESQ .
                    2 35 M ontgom ery Street
                     San Francisco , Californ ia               94 104


                    BO STON LAW G ROU P
                    VALENT IN GURV IT S
                     825 B ea con Street
                     New ton C enter , MA 02 459




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        A lso p resent :
        Cou rt rep ort er :
                    Fiona Farson
                    TSG R ep orting


        V ideograph er :
                    Sim on Rutson
                    TSG Reporting


        Interp reter :
                    A ssist . Pro f . Boris Naim ush in , PK .D .


        Technical exp ert :
                    Ke lly Tru elove




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                                                                                     Page
            notices;       that correct?

            THOMPSON: Objection, vague. Just so                          are you asking
            him      that 's what he said,                      that 's the policy?

       BY MR . FA BRI ZIO :

       Q.   Is       the case that currently Hotfile terminates users
            who have received three strikes based on Hotfile 's

            receipt of DMCA notices?

       A.   That       correct, to my knowledge, yes.

       Q . Okay .          user          rightly terminated because that user
            had received three              more strikes               uploading

            infringing content, does the termination                        that user

            still negatively effect Hotfile 's revenues?

       MR. THOMPSON : Objection. Incomplete, hypothetical, calls
            for speculation .

              don 't know .

       B Y MR . FA BR IZIO :

       Q . You don 't know?
            It 's    very broad topic .               don 't have          factual

            information .

            Okay .   Let me ask           this way :           Does Hotfile consider

            itself entitled to revenue from users who are repeat

            copyright infringers by Hotfile 's own standard?

            THOMPSON : Objection. Vague and ambiguous, calls for
            a legal conclusion, and argumentative.

       A.     don      think


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                                                                                      Page
       BY MR . FA BRI ZIO :

       Q . Okay,          me make sure           understand your answer .
                 Is       correct that Hotfile does not consider itself

            entitled        revenue from users who are repeat copyright

            infringers by Hotfile 's own standard ?

       MR. THOMPSON : Same objections, and also it's overbroad.
       A.   Well, I 've said that our standards expect,                         course,

            copyright owners to co-operate;                     means        issue right

            and correct taking-down notices.                            don't think

            Hotfile considers income from confirmed copyright

            infringers -- Hotfile doesn 't consider                        be entitled

            for income from repeated copyright infringers .
             In Hotfile 's counterclaim against Warner, does Hotfile

             claim damages based on users who were properly
            terminated by Hotfile's repeat infringer policy pursuant

             to Hotfile 's own three-strikes policy?

             THOMPSON: Objection. Calls for a legal conclusion,
             vague and ambiguous as                ''properly .''
        A . My belief          that we called for damages that are

             for users that terminated based on wrongful takedown .

        BY M R . FABR IZIO :

             Okay,                          different way.

        MR . THOMPSON : Excuse me, the last word,                       think

             reporter didn 't hear him correctly .

             FABRIZIO :    It 's      rough,                   sure she rll correct


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                                                                                 Page 212
              It says ''wrongful data''; it should say ''wrongful

   2          takedowns.''

       MR . THOMPSON :      Thank you .

       B Y M R . FABR IZIO :

              Hotfile 's current policy is that users who are the

   6          subject of three DMCA notices from copyright owners
              should be terminated , correct?
       A.     Yes .    To my belief, it 's the current policy .

       Q . Okay .       If a user had received more than three notices
  10          before a Warner notice that was in error, should that

  11          user have been terminated irrespective                    the Warner
  12          notice?

       MR. THOMPSON: Objection. Vague and ambiguous, incomplete
              hypothetical .
  15          If you assume that other notices were correct, then

  16            believe so .

             MR . FABR IZIO :

        Q.    Okay .    So in that case , if Warner was                   the Warner
              notice that was in error was the fourth, fifth , sixth or

  20          tenth strike , Hotfile would not consider that Warner
  21          notice       be the cause            that user termination because

  22          the user already should have been terminated based

              having three previous strikes . Is that correct?

  24    MR. THOMPSON: Objection. Hypothetical, calls for
              speculation .


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                                                                                        Page 213
              Yeah,       may say

             MR . FAB RIZ IO :

        Q . And so we are clear, Hotfile does not know whether any
              users were terminated as a result of an erroneous Warner

              takedown;          that correct?

        MR. THOMPSON: Objection,                   the extent              calls
              revealing attorney work product information .

                      instruct you not to reveal any attorney work

              product information in answering .
              Again ,     will repeat that Hotfile didn 't perform

                believe that Hotfile didn 't ever perform such an

              investigation for its own use .

        BY        FA BRI ZIO :

        Q.         right,        want to draw a distinction between
              a takedown          a file and a termination                   a user .

              understand that those are two distinct concepts,

              correct ?

        MR. THOMPSON: Objection, vague.
              They are two different actions,                      would say .

        BY MR . FABR IZIO :

              Okay.       just want to make sure we understand the
              distinction .

                   Has Hotfile ever received a complaint from a user

              about a mistaken takedown of                       file?

        MR. THOMPSON: Objection, overbroad and vague.

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                                                                                          Page 214
       A.       My understanding             that          are asking for           file,

                and with that in mind, I 'm aware of such situations .

        BY MR . FA BR IZIO :

        Q . Do such complaints by users typically get forwarded
                you?
   6    MR .    THOMPSON: Objection, vague.
                  remember seeing some                those, but           can 't say whether

   8                   typically or occasionally.

        BY MR . FABR IZIO :

                Okay.    So has Hotfile ever received a complaint from

                  user based on the takedowns of the files listed

                exhibits A through D of your counterclaim ?

        MR. THOMPSON: Objection, vague. Again I instruct the
                witness not          reveal any work product information .

        MR. FABRIZIO :             don lt think that 's possible .
        MR. THOMPSON :             don 't really care what you think is

                possible .    That ls           instruction .
  18    MR . FABRIZIO :       But your instructions are                     can confuse

  19            a witness, so you should confine privilege instructions

                    where they 're proper .                  asking whether         listen

                         question , Rod .

               M R . FABR IZIO :

                Has Hotfile ever received                 complaint from         Hotfile

                user regarding one of                 files        exhibits A through D

                         counterclaim that Hotfile contends were wrongly


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                                                                                 Page
             taken down?
       MR . THOMPSON :     I 1m instructing                 Titov not     reveal the
             results of any work product investigation .                     the
             extent he can answer without doing so, he 's free to do

             SO .

       A.      don lt know .

        BY MR . FABRIZIO :

                    don 't know whether Hotfile has ever received such

             a complaint?
       A.    No,      --   don 't know          Hotfile ever received such

             a complaint .
             So as you sit here today , you are unaware of any
             comp laint Hotfile received from                  user based on the
             W arner takedowns           exhibits           through     of the
             counterclaim, correct?
        A.   Yes, that        correct .
             Have you had           communications with anyone outside
             Hotfile, excluding your counsel, regarding                            the
             Warner Brothers takedowns that you consider to

             m istaken ?
        MR . THOM PSON :   Mr . Fabrizio would include by that any

             working         counsel .
        MR . FABRIZIO :    Yes,         course .

        A.   Nothing that        can remember particularly .

        BY MR . FABR IZIO :


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                                                                                Page
             Okay, 1et me be more specific :                 Have you had discussions

                communications with any Hotfile affiliates about

             Warner takedowns that Hotfile believes to be erroneous?

             I 'm not aware        any.
             Have you had discussions or communications with any site

             operator regarding Warner takedowns that Hotfile

             believes     be erroneous?

        A.   As I sit here today,           can 't think of any .

        Q . Are you aware that anyone else                    Hotfile having had
             such conversations or discussions?

        A . No, I'm not .        don 't think

        Q . Have you had communications with any user who was
             terminated by Hotfile about any Warner takedowns that

             Hotfile believes           have been erroneously made?

               don 't know .

        Q . Have you identified a single Hotfile user who was
             terminated where a Warner takedown was that user 's third

             strike?
        MR . THOMPSON :   Again, Mr. Titov              instruct           exclude

             the results from any attorney work product
             investigation .      If you can answer and               that, you 're

             free to answer .
        A . And again, Hotfile never performed sueh an analysis for

             its own use .

        BY MR . FABRIZIO :


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                                                                                      Page 223
               don 't know if              possible .

            M R . FABR IZIO :

       Q.      didn 't ask you whether                 was possible           do .    asked
             you whether, as you sit here today, you can identify

             a single user who terminated a premium account as

             a result        a Warner notice that Hotfile beliefs was

             mistakenly sent .

       MR. THOMPSON: Objection, asked and answered.
             No,      believe       cannot .

            MR . FABR IZIO :

        Q . Can you identify a single user who failed                          sign up
             a premium account because of a Warner notice that

             Hotfile believes               mistakenly sent?
             No,      don 't think         can, but               not an expert      lost

             revenue s .

                                 (Reporter clarification .)
                   FABR IZIO :

             Well,      appreciate that, but                    didn 't ask       about lost
             revenues       I 'm asking you, as                  factual matter, whether

                    can identify any user who failed                     sign up         a
             premium account because                      Warner Brothers takedown

             notice that             believe was mistakenly sent .

        MR. THOMPSON: Objection. Asked and answered,
             argumentative .

                don 't believe          can .


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                                                                                      Page
             MR . FA BRI ZIO :

       Q.         you look back at paragraph                          Titov, under
              subparagraph               refers          ''damage         its reputation

              and goodwill .'' Do you see that?

              Yes ,

        Q . Can you explain              us what damage              Hotfile 's
              reputation and goodwill you believe resulted from
              Warner 's sending the takedown notices on exhibits A

              through                 counterclaim ?
        A.    Users had their files suspended, or even received

              strikes, and been terminated without a reason for that .

              That       normally that will --                   my opinion that that

              will damage the reputation .

        Q . That 's your opinion?
        A.    It is.
                         previously testified that you can 't identify any

              user who complained about having one                        their files
              taken down as a result of one                     the exhlblt       through D

              takedowns, correct?

        MR. THOMPSON: Objection. The testimony speaks                              itself.
              Asked and answered .

                      currently not aware             any .

        BY MR . FABRIZIO :

              Okay . And you also testified that you 're not aware of a

              single user who was terminated as a result


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                                                                                   Page 225
              takedown notices sent by Warner that are on exhibits A

              through D of your counterclaim , correct?

        MR. THOMPSON: Same objections.
                think my testimony was that Hotfile never performed

              such analysis for                own use and enjoyment.
        BY MR . FAB RIZIO :

                  there any other basis for the contention that

   8          Hotfile's reputation and goodwill was injured, other
              than what            perceived to be wrongly taken down files

              and wrongly terminated users?

        MR. THOMPSON: Objection. Misstates prior testimony.
        A.    As of now,          can 't think of any, but there might be

              others.

        BY M R . FABR IZIO :

        Q.    In what way does having a user 's file remoyed impact
              Hotfile's reputation and goodwill?

        MR. THOMPSON : Objection, vague. Do you mean wrongfully
              remov ed ?    Ove rb road .

                 think that when user receives --                    user -- user 's file

  20          are being wrongfully take down, he will lose trust and

              respect         the company who he expected                  host

                   file .

             M R . FA BR IZIO :

  24    Q . Anything else?
              Nothing that           think              can think of now .    Remind me .


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                                                                                  Page 226
       Q . Does Hotfile , in your view, lose the trust and respect
              of its users when             takes down a                 that    fact

              copyright infringing?
       A.       don lt believe so .

             Why not?
       A.     Because the user             infringing .

              Does it make a difference what type of content the user

                  infringing?

       MR. THOMPSON: Objection. Vague, overbroad .
        A.      don 't understand the question .

        BY MR . FA BR IZIO :

        Q . Okay, 1et me try it this way: In what way does Hotfile
                    the trust and respect                       users when

              wrongly -- well, strike that .

                        your view , how does Hotfile lose the trust and
              respect       its users when               terminates a user?

        MR. THOMPSON: Objection. Overbroad,                          vague and
              ambiguous.
        A.    Because        user will believe that it 's Hotfile 's

              mistake        this m istaken user suspension .

             MR . FA BR IZIO :

                  your view, does Hotfile lose                     trust and respect of

                   users when           terminates a user that had received

              three strikes under Hotfile 's repeat infringer policy?

        MR. THOMPSON : Objection. Overbroad, incomplete

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                                                                                Page
             hypothetical .
   2   A.    If the strikes are based on wrongful takedowns, I think

             so , can lose trust .
   4   BY MR . FABRIZIO :

       Q . And what        at least three of the strikes are based on
             ab solutely correct notices?

       MR. THOMPSON : Objection . Vague and overbroad.
   8         Then under Hotfile 's policy, users infringe,                 will be

             suspended .

       BY M R . FAB RI ZIO :

       Q . And does Hotfile, in your view, lose the trust and
             respect of its users when                  terminates a user who
             a repeat infringer under Hotfile 's post complaint
  14         policies?

  15   MR. THOMPSON : Objection, overbroad.
  16         I don 't know         Hotfile           concerned about this.

        BY MR . FABRIZIO :

        Q.   What do you mean by that?

        MR. THOMPSON: Oblection, vague.
               mean that          the user is confirmed as copyright

  21         infringer, it 's            Hotfile 's concern what the user
  22         thinks about Hotfile .
  23    BY MR . FABRIZIO :

  24         Now, yesterday           talked about the fact that Hotfile

             began investigating Warner 's takedowns almost


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                                                                           Page 233
               question, when excluding what we know from our counsel .

       MR . FABRIZIO :    Okay .   Rod, if          I 1m trying to figure out

   3           how you fre conveying to your client a fact that I

   4           conveyed to you      Warner conveyed to you, but you lre

               telling him to exclude that knowledge from his answer.
   6   MR . THOMPSON :    Because our selection of what facts to            or

               information we know        share with our client

               obviously attorney/client communication.
   9   MR .    FABRIZIO: Wellr you rre just conveying what I told you.
       MR . THOMPSON :    Whether or not          choose to convey that to the

               client is my subjective work product and attorney/client
  12           communications .

       MR . FABRIZIO :    A11 right .     You have a very different view of

  14           these issues when you rre on the other side.

       MR . THOMPSON :    And so do you .

  16   MR . FABRIZIO :    Nah, nah .

        Q . Mr . Titov , I will tell you that al1 or substantially a11
  18              the file s listed in exhibi t A con sist of wo rks for

  19           which the games maker EA owns the copyright, and EA has

  20           authorized Warner to issue the takedown notices that

               resulted in their takedown upon learning after the factr

  22           after Warner -- after Warner learned of this instance .

  23               Does Hotfile still contend that the exhibit A works

  24           are wrongful takedowns?

  25    MR .   THOMPSON: Objection, to the extent the preamble is

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                                                                                 Page 234
   l        confusing and incomplete .              Also incomplete hypothetical.
   2   A.   Since you are presenting me the facts and I don 't have
   3        the opportunity to confer with anybody else at Hotfile
   4        now ,    can only ask             answer for myself, but         won 't --

              don 't think         would consider takedowns of the games

            you mentioned wrongful.

       B Y MR . FA BR IZIO :

   8   Q . Is there -- you and              may refer           this differently,

            1et me just say how I refer to it: Is there something
            that      on Hotfile that you refer to as ''list pages''?

       A.   Yeah,     believe so .

       Q . Can you describe what they are?
       A.           a page that consists of a number of links,                   cut

  14        Hotfile down           pages .

  15   Q . And          list page a page that is hosted on the
            hotfile .com servers?

       A.   Yes, it 's fair to say that .

  18   Q.   For what purpose does Hotfile offer users list pages, or
              guess it 's the ability                 create list pages?

            List pages are another presentation of the cost of the

            folder that Hotfile has, which is generally a typical

            feature of any system that would deal with files .

       Q . Okay . Are list pages and folders synonymous?                     Do they
            mean the same thing?            Or does            refer to two different

            functionalities?


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       MR. THOMPSON : Objection, argumentative.
               don '    know .

       B Y M R . FABR IZ IO :

   4   Q . Do you want to take a quick break now, or do you want to
             go on for a little bit?

             A quick break would be nice.

       MR . FABRIZIO :     Let 's take            quick break.
   8   VIDEOGRAPHER :      Off the record at 3 :53.

                                     (A break was taken .
       VIDEOGRAPHER :      Back          the record, 4:04 .

  11   BY MR . FABR IZIO :

  12   Q . Mr . Titov,          now want to talk about the strike system
             for repeat infringers that Hotfile put in place after

             the filing of this action, okay?

             A fter .

  16         What constitutes             strike under Hotfile ls current

             policy?
  18         Email DMCA notice or takedown by SRA account .

        Q . Anything else?
             And -- yeah, the              the internal tool I mentioned in the

  21         previous deposition .

  22    Q . Anything else?
        A.   I can 't think of anything else .

  24    Q . Okay . Will the receipt of                    notice through any means
  25         for a single file result in the user who uploaded that


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                                                                                      Page 326
             file getting a strike?

       MR. THOMPSON: Objection, vague.
       A.       believe so, yes .
        BY MR . FA BR IZ IO :

       Q . Okay .         there are multiple files uploaded by the same
             user in a single notice, does the user receive as many

             strikes as there are files                      the notice, or does that

             user just receive one strike for that notice?
       MR. THOMPSON: Objection. Vague and overbroad.
       A . My belief is the user will receive one strike for it,
  11         the DMCA notice .

        BY M R . FA BR IZ IO :

        Q. Let me just put                into an illustration to make sure we
             got             Hotfile receives                    single notice that
             contains two files identified                        infringing and b0th
             were uploaded by the same user, under Hotfile 's current

             policy , that user would get one strike, because there
  18         w a s on e no tice .      Co rre ct ?

  19   A.       believe so, yes .

       Q . You understand --                think          actually talked about
             earlier -- that some works                      entire pieces       content

             may be uploaded              multiple different files, correct?

       MR. THOMPSON: Objection, vague.
        BY MR . FABRIZIO :

       Q . Do you understand what I mean?


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                                                                                   Page 335
             address         prevent that user from continuing                download

             files from hotfile .com?

       MR. THOMPSON: Same objection
   4   A.    Nor      does not .

       BY MR . FABRTZTO :

       Q.          right .        what specific point in the processing of
             a notice, whether it 's an email notice                    an SRA notice,

   8            a strike recorded?

             When the notice            processed .

       Q.          the strike recorded when the processing begins,
             only when the processing has completed?

       A.      would say completed .

             Completed?

             Yes.

       Q . And forgive me , we may have covered this last time,
             but       I know        was following the filing               this

             action,          when after the filing of this action did

             Hotfile adopt the strike system?

               think         was towards the end               February .

        Q.   If a user uploads an item that                        that has already
             been blocked -- well, strike that .

                    Currently ,        Hotfile gets            notice about a file, in

             addition to deleting the file, Hotfile take the MB5 hash

             and prevents           prevents other users from uploading

             files containing the identical MB5 hash?                       that


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                        CERT IFICA TE O F COU RT RE PORT ER



       1, Fiona Farson, with TSG Reporting, hereby certify that the
   4   testimony    the witness Anton Titov in the foregoing
       transcript, taken on Tuesday, December 6, 2011 was reported
       by me    machine shorthand and was thereafter transcribed by
       me; and that the foregoing transcript is a true and accurate
       verbatim record         the said testimony .

       I further certify that I am not a relative, employee,
   8   counsel or financially involved with any    the parties
       the within cause, nor am I an employee or relative of any
   9   counsel for the parties, nor am      any way interested
       the outcome of the within cause.

  11




        Signed :       ..        ..

        Fiona Farson
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        Dated: 12/17/2011


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                                    CERTIFICATE OF DEPONEN T
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       3
           I , ANTON TITOV, hereby certify that  have read the
           foregoing pages of my deposition of testimony taken in these
           proceedings on Tuesday, December 6: 2011, and, with the
       5   exception of the changes listed on the next page pnd/or
           corrections, if any , find them to be a true and accurate
       6   tran scription thereof .


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